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UNITED STATES DISTRICT COURT                                       DOC#:
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 11/02/2021


 RAYMOND SWAINSON,

                             Plaintiff,
                                                                    No. 21-CV-5378 (RA)
                            v.
                                                                           ORDER
 MOHELA, TRANSUNION, LLC, EXPERIAN,
 AND EQUIFAX INFORMATION SERVICE, LLC,

                             Defendants.


RONNIE ABRAMS, United States District Judge:

         During the telephonic status conference held in this case on September 17, 2021, the Court

directed Defendants to submit a joint letter by the end of September advising the Court as to

whether the parties consented to proceeding with a settlement conference. Defendant TransUnion

was not present during that call, as it had not yet appeared in the case. Both Defendant Mohela

and Plaintiff have since submitted letters stating that they consent to a settlement conference. Dkts.

25, 33. TransUnion has not so advised the Court; instead, it has filed a motion to dismiss Plaintiff’s

Complaint. Dkt. 35. No later than November 9, 2021, TransUnion shall advise the Court as to

whether it consents to a settlement conference with Plaintiff and Defendant Mohela, either before

Magistrate Judge Cave or with a mediator from the Court’s mediation program.


SO ORDERED.

Dated:      November 2, 2021
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
